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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-161 (RBW)
                                     )
DUSTIN BYRON THOMPSON and            )
ROBERT LYON,                         )
                                     )
                  Defendants.        )
____________________________________ )

                                              ORDER

       In accordance with the oral rulings issued by the Court at the hearing held on April 21,

2021, via videoconference, it is hereby

       ORDERED that the United States’ Motion to Continue and to Exclude Time Under the

Speedy Trial Act, ECF No. 14, is GRANTED without objection. It is further

       ORDERED that the United States’ Motion for Protective Order, ECF No. 17, is

GRANTED without objection. It is further

       ORDERED that, on June 22, 2021, at 11:00 a.m., the parties shall appear before the

Court for a status hearing, via teleconference, by calling 1-877-873-8017 and entering the

Court’s access code (8583213) followed by the pound key (#). It is further

       ORDERED that, as to the defendant Dustin Thompson, with the defendant’s and the

government’s consent, the time from April 21, 2021, to June 22, 2021, is excluded under the

Speedy Trial Act, in light of the fact that the defendant and his counsel require additional time to

receive and review the discovery in this case. It is further

       ORDERED that, as to the defendant Robert Lyon, with the defendant’s and the

government’s consent, the time from April 21, 2021, to June 22, 2021, is excluded under the
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Speedy Trial Act, in light of the fact that the defendant and his counsel require additional time to

receive and review the discovery in this case. It is further

       SO ORDERED this 21st day of April, 2021.




                                                      REGGIE B. WALTON
                                                      United States District Court Judge
